CC Gunworks Mail - Bbl testing                                         https://mail.google.com/mail/u/0/?ik=f7deb6de4c&view=pt&search=all...
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                                                                                         Matt Cheely <matt@ccgunworks.com>



         Bbl testing
         1 message

         Matt Cheely <matt@ccgunworks.com>                                                         Mon, Dec 16, 2019 at 2:51 PM
         To: luke@kkmprecision.com

           Luke,

           Did you get a chance to look at the two barrels I sent you last week? Just wondered what they came in at on your
           tester.

           - Matt




1 of 1                                                                                                                   2/10/2022, 1:35 PM
